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 1     DONALD SPECTER – 083925                        MICHAEL W. BIEN – 096891
       STEVEN FAMA – 099641                           ERNEST GALVAN – 196065
 2     MARGOT MENDELSON – 268583                      LISA ELLS – 243657
       PRISON LAW OFFICE                              JENNY S. YELIN – 273601
 3     1917 Fifth Street                              THOMAS NOLAN – 169692
       Berkeley, California 94710-1916                MICHAEL S. NUNEZ – 280535
 4     Telephone: (510) 280-2621                      AMY XU – 330707
                                                      CARA E. TRAPANI – 313411
 5     CLAUDIA CENTER – 158255                        MARC J. SHINN-KRANTZ – 312968
       DISABILITY RIGHTS EDUCATION                    ALEXANDER GOURSE – 321631
 6     AND DEFENSE FUND, INC.                         GINGER JACKSON-GLEICH – 324454
       Ed Roberts Campus                              ADRIENNE PON HARROLD – 326640
 7     3075 Adeline Street, Suite 210                 ARIELLE W. TOLMAN – 342635
       Berkeley, California 94703-2578                ROSEN BIEN
 8     Telephone: (510) 644-2555                      GALVAN & GRUNFELD LLP
                                                      101 Mission Street, Sixth Floor
 9                                                    San Francisco, California 94105-1738
                                                      Telephone: (415) 433-6830
10 Attorneys for Plaintiffs
11
12                                    UNITED STATES DISTRICT COURT
13                                    EASTERN DISTRICT OF CALIFORNIA
14
15 RALPH COLEMAN, et al.,                              Case No. 2:90-CV-00520-KJM-DB
16                      Plaintiffs,                    [PROPOSED] ORDER RE
                                                       DEFENDANTS’ EXPERT TOURS
17                 v.
                                                       Judge: Hon. Kimberly J. Mueller
18 GAVIN NEWSOM, et al.,
19                      Defendants.
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     [4328910.1]

                                [PROPOSED] ORDER RE DEFENDANTS’ EXPERT TOURS
     Case 2:90-cv-00520-KJM-DB Document 7894 Filed 07/25/23 Page 2 of 3


 1                 The parties have submitted a joint statement with their respective positions
 2 regarding their disputes about the tours Defendants intend their experts, VRJS/Falcon, to
 3 conduct of all prisons with MHSDS patients in the CDCR system. See ECF No. 7883.
 4 The Court, having reviewed the parties’ positions, orders as follows:
 5                 1.     Defendants’ shall immediately pause all the Falcon expert tours and shall not
 6 resume the tours until October 1, 2024 and/or after the conclusion of the September 29,
 7 2023 contempt proceedings regarding inpatient transfer timelines and staffing.
 8                 2.     Defendants shall not conduct Falcon expert tours at two or more institutions
 9 simultaneously.
10                 3.     At least seven days before the first day of each Falcon expert tour,
11 Defendants shall provide Plaintiffs and the Office of the Special Master with the start time
12 and the end time for each day of the tour.
13                 4.     Defendants’ experts shall not observe the provision of mental health
14 treatment to Coleman class members or interactions between mental health staff and
15 Coleman class members outside the presence of Plaintiffs’ counsel.
16                 5.     Defendants shall negotiate with Plaintiffs in advance of any Falcon expert
17 tour regarding the time, place, and manner of any and all portions of the tour that will
18 involve contact with Coleman class members.
19                 6.     Defendants’ experts shall not observe any form of one-on-one mental health
20 treatment provided to Coleman class members.
21                 7.     Defendants’ experts must first obtain informed consent from every Coleman
22 class member before Defendants’ experts may interview the class member or observe any
23 mental health treatment events involving the class member, including group treatment,
24 IDTTs, ICCs, UCCs, and R&R screenings. The parties shall negotiate the content of the
25 consent statement that shall be read to Coleman class members to inform them about the
26 request to interview and/or observe their contacts with mental health staff. At a minimum,
27 the informed consent statement must explain to class members that the observation is part
28 of a study, the purpose of the study is to evaluate the Program Guide and delivery of
     [4328910.1]
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                                 [PROPOSED] ORDER RE DEFENDANTS’ EXPERT TOURS
     Case 2:90-cv-00520-KJM-DB Document 7894 Filed 07/25/23 Page 3 of 3


 1 mental health care, and the study may be used to modify or terminate some or all of the
 2 Court’s remedial orders in this action.
 3                 8.   Defendants must also obtain informed consent from each patient’s mental
 4 health clinician before Defendants’ experts may observe any mental health treatment
 5 events involving the mental health clinician. The informed consent statement for mental
 6 health clinicians must include the purpose of the expert study and the clinician’s right to
 7 refuse to allow the experts to observe their treatment of patients.
 8                 IT IS SO ORDERED.
 9 DATED: ____________, 2023
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                                                  Honorable Kimberly J. Mueller
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     [4328910.1]
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                              [PROPOSED] ORDER RE DEFENDANTS’ EXPERT TOURS
